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                                  SO U'I'HElt5 DISTRICT OF FLO RIDA



        In re Emcrgcncy Ex J't/r/cApplication oI'
        DAVID A.GOD FREY AND YtIKOS
        FINANCE B.V .fbran orderto eonduct
                                                                  caseN:. 7 - t'R
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        discovery t
                  bruse in a tbreign proeecxling,

                          Petitioners.
                                                                                                      W .C00ï2
        DECLARATIO N O F BERNARD O'SULLIVAN IN SUPPORT OF DAW D A.G ODFREY
          AND YUKO S FIN ANCE B.V.'S EM ERGEN CY EX PARTE APPLICATION FO R
        DISCOVERY IN AID OF A FO REIGN PROCEEDING PURSUANT TO 28 U.S.C.: 1782

               1,Bm-
                   nard0:Sullivan,declareunderpenaltyofpcrjuryaslbllows:
        1. lam a Partner in the l'
                                 il'
                                   1u ofOlswang LLP,practising from the address 90 High Holbom,

           London W C lV 6XX. M
                              ' y iirm is aboutto merge with two otherlaw lsnns such that from

           M ay I.2017 Iwillbe practicing asa pannerin CM S Cameron M cKennaN abarro Olswang

                  1 am a solicitor of Englantl and W ales and have bcen practicing as a solicitor in

           London since lqualitied in 1992. 1am counselto theClaimantsin litigation tha:iscurrently

           pendinginEnglandunderClaim No.CL- 2015- 000829(theSlEnglishProeeedingsM).
           I submit this declaration in suppofl of an Application for an Order Seeking Discovery

           Pursuantto 28 U.S.C-j 1782 (the t-Application'') filcd by David A.Godfrey'and Yukos
           FinanceB.V.(ZbYukosFinance'')(collectively.thet*laetitioners''l-
                                     TH E ENI;LISH PRO CEEDINGS

        3. Yukos Finance, Yukos lnternational UK              Stichting Adm inistratiekantoor Y ukos

           Intem ational, Yukos Capital             Financial Perlbrm ance Holdings                   Yukos

                                                                                           ttclaimants'') are
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       4. In summary,Claim antsallegt
                                    atha!Def'
                                            endants causcd them hann by wrongfully caktsing or

          facilitating the participation ofPrklnuleftstroy in thc auction ofshares in Yukos Finance on

          August 15,2007.kx
                         -nowing and intcnding thatithad bcen pre-deterrnined thatsuch aumion

          would purponetb-ybe won byProlnncftstroy ata pre-agreed price. Claimantsallegethatthey
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          relating to thc owncrship and control ol
                                                 - Yukos Financc and related companies in the

          Nctherlands-
       5. The English Proceeclingawere commenced by'way ofClaim Form issued on November23,

          2015 underClaim N o.CL --2015- 000829. DefendantsStephcn Jemlings,RobertReid,and

          Richard Deitz wercscrved in January 2016. ParticularsofClaim were subsequently flle,d on

          Fcbmary 24,2016. Permission wasgranted by OrdcrofM .
                                                             1
                                                             -.JusticePhillipsdated M arch 23&

          2016 forClaim antsto serve on DefendantLyuch thc Claim Form,ParticularsofClaim and

          anyotherdx umentintheproceedingsoutofthejurisdiction intheUnitedStatesofAmerica
          and Russia.

          pennitîingservieeon DefendantLy-nchoutofthejurisdictionintheUnitedStatesand Russia
          tlntilN'
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       6. Dcl-
             ences wcre li1ed alld selacc-d by Dcl-
                                                  endantRiehard Deitz on N'
                                                                         '1ay 6, 2016, and by

                                                                       Clainzants'Replics to lhe

          Defencesof DefelïdantsJemlings,Reid,and Dcitzwcrcservcd onJuly 14,2016 .

       7. Permission was granted by Orderof1,11.Justice Blairdated November 1,2016 forClaim ants

          to:(i)amend lheClaim Form and theParticularsofClaim;(
                                                              'ii)add Mr.RobertForesmanto
          the proceedings-
                         ,and (iii)to serve tlte Amended Claim Form and Amcnded Particulars of
          Claim andanyotherdocumentsintheproceedingsonMr.Foresmanoutofthejuldsdiction.
       8. Amended Payliculars ofClaim wcre ûled on November 15,2016. Am ended Dtfences were

          filed and served by Defenklants Jennings,Reid,and Deitz on January 3,2017. Claimants'

          Amended Replies to the Am ended Defences of DefcndantsJennings,Rcid,and Deitz were

          scn'ed on April10,J017.

       9. OnNovembcr28,2016,DefendantForesm an wasserved with theAmended Claim Form and

          Amended ParticularsofClaim ouloI-thtjurisdiction in the Unile
                                                                      'd States. Pursuantto the
          Order orM r.Justice Popplewell dated January 16,2017,M r.Foresman's Defence to the

          Am ended Partiuulars ofClaim was served on Febl-uary 28,2017. Claimants'reply to M r.

          Foresman wasserved onApril27,20l7.
       l0.On January l,2017,Defendant Lynch was provided with the Amended Claim Form and

          Amended Particulars of Claim outof the jurisdiction in Lebanon. Claimants tiled arl
          application for,amongstotherthings:(i)retrospective permission to servc the Amended
          Claim Fonn,Am endetlParticularsofClaim and any otherdocumcntin theseprcceedingson

          Detkndant Lylwh out of thejurisdiction'
                                                ,and (ii) an orderthatpersonal dtlivery of thc
          relevantdocum cnts to DefendantLynch on January 1,2017 in l-ebanon wasgood scnzice.

          This Order was granted by thc Court against Defcndant Lymch on M arch 24, 20l7.
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                               TO 'I'HE F.NGLISIIPROCEEDINGS

       I2.TheClain-
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          Oil's shareholding in Yukos Filtance and thc purportcd exercise by or on behalf of

          Promnchstroy of Yukos Finance's rights.Claimants allcgc that Defcndants caused theln

          han'
             n by wrongfuliy causing ort
                                       -acilitatillg thepal
                                                          -ticipation ofPromnchstroy in the auction

          ofsharesin Yukos l-
                            einance,know'ing and intending thatithad becn predetennined thatsuch

          auction woultlpurportedly be wonby Promneltstroy ata pre-agrced price

       l3.Claim ants bclitwe thatDefendanlI..yneh haspersonalknowledgc and documents relevantto

          these proceedings, including tl
                                        ye argument that Dej
                                                           kndants knew and intended that the

          auction ofYukos Finance was predetermined to be won by Promneftstroy ata pre-agreed

          price.

       14.Defendants Jelènings. Reid,Dvitz,ankl Forcsnzan have eaeh pleaded Defences that do not

          adm it that the auction of-Yukos Finance was predetenuined and deny that they had

          knowledge of'any agruementregarding the outcome ofthe auction. Claimants believc that
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       15.C laiI4)ants seek to obtain                                             Defendant Lynch

           concelming liis actîons related to Plomneftstroy,incltlding in his capacity as dircctor of

                                               'knourledge (antltheparticipation in and knowledgcof
           Promncftstroy,hisparlicipatiol)il)and            .




           the other Defcndants) relating to the auction of Yukos Finance, the llnancing of
           Promneftstroy's bid tbr Yukos Finance shares,the managem cntofPromncftstroy through

           shcllcompanies,and due diligence performed in connectionwith theYukosFinanceauction,

           in orderto further demonstrate thatthe auction ofYukos Finance was rigged in a corrupt

           auction proccssin which Dcfendantsplayed an instrumentalrole.

               THE COURT IN THE ENGLISH PRO CEEDINGS LIKELY W llaluACCEPT
                   EVID ENCE OBTAINED PURSUANT TO THIS APPLICATION

       16.7-he procedure for tlle provision oI
                                             -discovery and evidence in the English Procecdings is

           governcd by theEï
                           lglish CivilProcedureRules. Part3lrelatesto i-Disclosure and lnspection

          ofDocumentsy''a tnle and correctcci
                                            py ofwhich isexhibiled to thisDeclaration asExhibit

               Part32 relates to 'tEvidence.'-a true and con-cct copy ofwhich is exhibited to this

           Declaration asExhibitB.
        l7.Defendant l-ynch is a nam ed party to the English Procecdings and has now been validly

           served in the case. However,the proeedure in the courls ofEngland and W ales may not

           resultin DdkndantLynch providing witnesstestimony.
       18.First,DefendantLynch may choose to ignore thc English Proceedings. Forthe momentheis

           notrepresented and hassignaled an intention tocontcstjurisdiction,which allowshim more
           time before 11 Defence is fbrlnally due. Should Defendant I-jmch ultimately ignore the

           proceedings,hccouldfaccconscquencesincludingbutnotlimited to ajudgmentin default.
           'l-hose conscqueneesnotweithstanding.DefkndantLynch may stillbe able to av'tli
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       20.Finall-
                y-, evcn if Dkcfentlant L-
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                                          nch engages in !htt .
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                                                               -'nglish Proceetlings. he vzould not

          necessarily be requiretl to provide wilncss tcstimony under English law.                       English

          CommcrcialCourlproccedings,particsarcno1rcquired to submitaw'itnessstatcment,and if

          they resideoutsidethejurisdiclion--asdoesDctkndantLynch they cannotberequired to
          attend coul'
                     tinordcrto giveevidenee.




          otherDefendantswould haveto pl.
                                        oceed withoutthebenetitofN
                                                                 '11-.Lymch'stestim ony,which

          woul
             .d be adetrilncntto Claim antsin lie
                                                dzlt(afDefendantLlmch'srole as a key participantin

          the allegetlw-rongkloing.

       22.Unlike thenonn in thc Unitcd States-tllc English lega!system docsnotinclude regularpre-

          trialdepositions. Although the English system hasam echanism fbrcross examination prior

          to trial,thisprocedure isnotwholiy analogousto adeposition mad isnotavailableasofright.

          To obtain crossexamination,themoving party mustmakean application to the court,which

          typically only grants the application t
                                                -tlrurgcntconcem s aboutnarrow matters. lndeed,such

          applications arc seidom made and infrcquently grantcd. ltisthcrcforc highly unlikely that

          Claim antswould be able erossexamine DetkndantI-lmch in advance oftrialofthe English

          Proccetlinns.
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                                                                     Llrnch, should hc; engage in

          proceedings, the English Court may nAake an order requiring him to disclose relevant

          documcnts takin to                                                Part of the process in

          proccedings belbre thc English Com mercial Cour't, but in a case such as thc English

          Proceedings, it can be expected that the Coul'
                                                       t would make sueh a disclosure order. I

          thcrefore expcct that,should DefendantLlmch lake pal
                                                             4 in the English Proceedings,the

          English Courtnlay seek tocompelhisdisclosure ofrelevantdocuments.

       24.The English Courthas discrction as to whethcr to cxcludc cvidence that a party seeks to

          adduce. Theretbre,the English Courthas the powcrto ordcrthatdtposition testimony and
          discovcry given pursuantto the Section 1782 proeedure may ormay notbe relied on in the

          English procecdings. Howvver. where evidence is probative of the issues in English

          proceedings,the English Courtis highly likcly to find thatitis adm issible. ln tht case of

          Nokia vInterdigitalFc/l?l()/fpo Group (2004),theCourtconl
                                                                  inned,spccifically in relation
          to evidenceobtained lhrotlgh lhe Section 1782 procedure,thatVtthe(UK)courti:generally
          indiflbrentas to the source ofadmissible materialy''and tkthe (UK)courtisnotgenerally
          concerncd asto how thatevidence wasobtained.''1d.11!123-24. Accordingly,the English
          Court likely would be rcccptive to m aterial obtained tluough the U.S. Federal Court's

          assistance,and 1thertfor: bclicve thatany m aterialrcceived as a resultofthis Application

          willbe admitted intoevidence in theEnglish Proceedings.
                  M lt.LYNCH 'S ATTEM PTS TO EVADE SERVICE IN THE ENGLISH
                                        PRO CEEDINGS

       25.On Janual'
                   y 1.2017,Defendant Lymch was providcd with the Anacndcd Claim Form and



          flightto Nlosiow.
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                  Ocum cnts.

        27.Furthcnnorc,attem ptsvvcrc made to provideDcfendantLy-nch in 5
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              application tbat thc cvcnts of January 1, 2017 in Lebanon amounted to servicc. W '
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              approaehtw
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                       d on M arch 9,2t
                                      .)l7,DcfcndantLynch thrce timcs in shortsuccession refused to




              suddenly lkll to the ground as he moved off. A tlate and correct copy of the wim ess

              statem entand exhibit(butwithoutthe video)dated M arch 20,2017 oftheprocessserverfor
              thiaincidcnt.Picnv-AndreStaub,isexhibited to thisDeclaration asExhibitC,

       28.Italso was conf-
                         irmed.in statemenlsnlatle to the Amsterdam CourtofAppealby counselto

              Promneftstroy in late-Novembcr 2016,in the context of relatetl Dutch proceedings,that

              DefendantLynch isawareof'the English Proceedingsand istaking active stepsto avoid the

              risk ofbeing scrvcd in the English Proceedings.

              Idcclare undcrthepcnaltyofperjuryofthe Iawsofthe United StatesofAmaricathatthc
        foregoing is trueand correcl.




                                                                                      Bcrnard O'Sullivan
